            Case 5:16-cv-01128-AB-SP Document 159 Filed 03/14/18 Page 1 of 17 Page ID #:2547
                                   LIST OF EXHIBITS AND WITNESSES
 Case Number            ED CV 16-01128-AB (SPx)               Title        Dominic Archibald v. County of San Bernardino et al
     Judge              ANDRÉ BIROTTE JR., United States District Judge

 Dates of Trial
  or Hearing            3/6/2018; 3/7/2018; 3/8/2018; 3/12/2018; 3/13/2018; 3/14/2018

 Court Reporters        Chia Mei Jui; Patricia Cuneo
                                                                                                                              3/14/2018
  or Tape No.

 Deputy Clerks          Carla Badirian; Patricia Gomez

                  Attorney(s) for Plaintiff(s) / Petitioner(s)                                  Attorney(s) for Defendant(s) / Respondent(s)

 Dale K Galipo                                                                      Vincent C Ewing
 Hang Dieu Le

 Robert Dean Conaway
 Marcel Sincich


     Plaintiff(s) or Petitioner(s)                Defendant(s) or
                                                  Respondent(s)
                                                                                         EXHIBIT DESCRIPTION / WITNESS                         Called By
  Ex. No.         Id.        Ev.        Ex. No.         Id.           Ev

                                                                                  SEE ATTACHED LISTS




G-65 (03/07)                                                  LIST OF EXHIBITS AND WITNESSES                                           Page       of
Case 5:16-cv-01128-AB-SP Document 159 Filed 03/14/18 Page 2 of 17 Page ID #:2548



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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
     DOMINIC ARCHIBALD AND                 Case No. 5:16-cv-01128 –AB-SPx
11   NATHANAEL PICKETT, I, AS
     INDIVIDUALS AND AS
12   SUCCESSORS IN INTEREST TO
     NATHANAEL H. PICKETT II,              PLAINTIFFS’ WITNESS LIST
13   DECEASED.
14                   Plaintiffs,
15                  vs.
16   COUNTY OF SAN BERNARDINO,
     KYLE HAYDEN WOODS, WILLIAM
17   KELSEY, and DOES 2-10,
     INCLUSIVE.
18
19                 Defendants.
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Case 5:16-cv-01128-AB-SP Document 159 Filed 03/14/18 Page 3 of 17 Page ID #:2549



1            Witness’s Name                         Date(s) of Testimony
     Deputy Kyle Woods
2                                       3/6/2018; 3/7/2018
3    William Kelsey
4    James Kennedy
5    Deputy Tommy Dickey
6    Scott DeFoe
                                        3/7/2018; 3/8/2018
7    Roger A. Clark
8    Howard E. Mattern
9    M. Scott McCormick
                                        3/8/2018
10   Dominic Archibald
                                        3/8/2018; 3/13/2018; 3/14/2018
11   Nathanael Pickett, I,
                                        3/13/2018
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                            UNITED STATES DISTRICT COURT
    9
                           CENTRAL DISTRICT OF CALIFORNIA
   10
   11   DOMINIC ARCHIBALD AND           ) U.S.D.C. Case Number:
        NATHANAEL PICKETT, I, AS        ) 5:16-cv-01128 AB (SPx)
   12   INDIVIDUALS AND AS SUCCESSOR)
        IN INTEREST TO NATHANAEL H. )
   13   PICKETT II, DECEASED.           ) DEFENDANTS’ WITNESS LIST
                                        )
   14              Plaintiff,           )
                                        )
   15        v.                         )
                                        )
   16                                   )
        COUNTY OF SAN BERNARDINO, )
   17   KYLE HAYDEN WOODS, WILLIAM )
        KELSEY, and DOES 2-10, INCLUSIVE)
   18                                   )
                   Defendants.          )
   19                                   )
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Case 5:16-cv-01128-AB-SP Document 159 Filed 03/14/18 Page 5 of 17 Page ID #:2551




    1   Witness’s Name                        Date(s) of Testimony
        1. Plaintiff Dominic
    2   Archibald
    3   2. Plaintiff Nathanael Pickett, I
    4
        3. San Bernardino Sheriff’s Dept.,    3/8/2018
        Deputy Kyle Woods
    5
    6   4. San Bernardino Sheriff’s Dept.,    3/8/2018
        Volunteer Citizen on Patrol William
    7
        Kelsey
    8
    9
        5. San Bernardino Sheriff’s Dept.,    3/8/2018
        Deputy Tommy Dickey
   10   6. San Bernardino Sheriff’s Dept.,
   11   Det. Mark Rios
        7. San Bernardino Sheriff’s Dept.,
   12
        Det. James Williams
   13   8. San Bernardino Sheriff’s Dept.,
   14   Deputy David Johnson*
        9. San Bernardino Sheriff’s Dept.,
   15   Sgt. Joseph Janowicz
   16   10. San Bernardino Sheriff’s Dept.,
        Det. Ryan Smith
   17
        11. San Bernardino Sheriff’s Dept.,
   18   Det. Mark Green
   19   12. San Bernardino Sheriff’s Dept.,
        Sgt. Jeff Simonton
   20
        13. San Bernardino Sheriff’s Dept.,
   21   Det. Chambers
   22
        14. San Bernardino Sheriff’s Dept.,
        Sgt. Jason Radeliff
   23   15. San Bernardino Sheriff’s Dept.,
   24   Lt. Mendoza
        16. San Bernardino Sheriff’s Dept.,
   25
        Deputy Jason Shroeder
   26   17. Deputy Coroner Investigator Joe
   27   Hernandez, San Bernardino Sheriff-
        Coroner
   28



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    1   18. Barstow Police Department Det.
        Keith Libby
    2
    3   19. Barstow Police Det. Leo Griego,
        Barstow Police Dept
    4
    5   20. Barstow Police Department
    6   Detective/Stg. Christopher Kirby
        21. Barstow Police
    7   Department Det. Andrew Reyes
    8   22. Barstow Police Department
    9
        Evidence Technician Sabrina Ellis

   10   23. Barstow Police Department
   11   Senior Evidence Technician Deanna
        Schooler
   12
        24. Barstow Police Department
   13   Officer Mike Cardenas
   14   25. Barstow Police Department
        Officer Dante Caliboso
   15
   16   26. Barstow Police Department
        Sergeant Andrew Ellis
   17
        27. Barstow Police Department
   18   Officer Joseph Silva
   19   28. Barstow Police Department
        Officer Ruben Escalante
   20   29. Barstow Police Department
   21   Lieutenant Andrew Espinoza, Jr
        30. Barstow Police Department
   22
        Officer Juan Zepeda
   23   31. Barstow Police Department
   24   Corporal Jose Barrientos
        32. Captain Steve Ross*, Barstow
   25
        Fire Department
   26   33. EMT/Paramedic Ken Self
   27
        34. EMT/Paramedic Carlos Topete
        35. EMT Alexander Jacobs
   28



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    1   36. Travis Espinoza
        37. Forensic Pathologist Dr. Scott
    2   McCormick
    3   38. Dr. Howard W. Oliver
    4
        39. James Kennedy
        40. Clarence Robert Chapman          3/12/2018
    5   41. Marc A. Cohen, M.D.,
    6   42. Parris Ward,                     3/12/2018
        43. Dr. Cory Wilson
    7
        44. MaryAnn Savory, NP               3/8/2018
    8   46. Dr. Alix Vincent,
    9   Barstow Community Hospital
   10   47. Dr. Robert Reuter, Barstow
   11   Community Hospital
   12
        48. Dr. Peilin C. Reed, Barstow
   13   Community Hospital
   14
        49. Dr. Matt Hudkins, Barstow
   15
        Community Hospital
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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10
     DOMINIC ARCHIBALD AND                 Case No. 5:16-cv-01128 –AB-SPx
11   NATHANAEL PICKET, I, AS
     INDIVIDUALS AND AS
12   SUCCESSORS IN INTEREST TO             JOINT EXHIBIT LIST
     NATHANAEL H. PICKETT II,
13   DECEASED.
14                        Plaintiffs,
15                vs.
16   COUNTY OF SAN BERNARDINO,
     KYLE HAYDEN WOODS, WILLIAM
17   KELSEY, and DOES 2-10,
     INCLUSIVE,
18                     Defendants.
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Case 5:16-cv-01128-AB-SP Document 159 Filed 03/14/18 Page 9 of 17 Page ID #:2555


     Plaintiffs’ Exhibits
1
2    Exh.
     No.            Description             Date Identified      Date Admitted
3      1 Surveillance Videos of the      3/7/2018             3/8/18
4         November 19, 2015 Incident                          1A
          from El Rancho Motel
5      2 November 19, 2015 Audio         3/7/2018             3/7/2018
6         Belt Recording of Incident
          from Deputy Woods
7      3 Transcript of the November      3/7/2018
8         19, 2015 Audio Belt
          Recording of Incident from
9         Deputy Woods
10     4 San Bernardino County
          Sheriff’s Department Officer
11
          Involved Shootings Policies
12        (CSB 00379-00384)
       5 San Bernardino County
13
          Sheriff’s Department Use of
14        Force Policies
          (CSB 00385-00390)
15
       6 Relevant portions of P.O.S.T.
16        Learning Domain 20 – Use of
17        Force
       7 Relevant portions of P.O.S.T.
18        Learning Domain 37 – People
19        with Disabilities
       8 Relevant portions of P.O.S.T.
20        Learning Domain 33 –
21        Firearm Retention
       9 Autopsy Report by Dr.
22        Howard Oliver
23    10 Riverside County Coroner        3/8/2018
          Autopsy Report by Dr. Scott
24        McCormick
25    11 Photographs of Nathanael
          Pickett, II at the Scene
26    12 Photographs of the Scene
27    13 Aerial Photographs of the       3/7/2018             3/7/2018
          Scene                          Pg. 7                Pg. 7
28
                                          1.
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 1   Exh.
     No.            Description              Date Identified      Date Admitted
 2    14 Photographs of Nathanael         3/8/2018             3/8/2018
 3        Pickett, II from Autopsy        Pgs.:                Pgs.:
                                          2                    2
 4                                        14                   14
 5                                        15                   15
                                          13                   13
 6                                        8                    8
 7                                        9                    9
                                          3                    3 (modified)
 8                                        6                    6
 9                                        7                    7
                                          1                    1
10                                        12                   12
11                                        18                   18
12     15   Photographs of Deputy Kyle    3/6/2018             3/6/2018
13          Woods taken on November       Pgs.:                Pgs.:
            19, 2015 after the Incident   1                    1
14
                                          6                    6
15                                        7                    7
                                          8                    8
16
                                          18                   18
17                                        19                   19
                                          3/7/2018             3/7/2018
18
                                          Pgs.:                Pgs.:
19                                        12                   12
                                          13                   13
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Case 5:16-cv-01128-AB-SP Document 159 Filed 03/14/18 Page 11 of 17 Page ID #:2557



 1   Exh.
     No.            Description             Date Identified      Date Admitted
 2    16 Photographs of Nathanael        3/8/2018             3/8/2018
 3        Pickett, II and Family         Pg.:                 Pg.:
                                         1                    1
 4                                       3/13/2018            3/14/2018
 5                                       Pgs.:                Pgs.:
                                         20                   20
 6                                       48                   48
 7                                       21                   21
                                         17                   17
 8                                       10                   10
 9                                       15                   15
                                         2                    2
10                                       36                   36
11                                       37                   37
                                         14                   14
12                                       45                   45
13                                       29                   29
                                         9                    9
14                                       5                    5
15                                       18                   18
                                         23                   23
16                                       19                   19
17                                       6                    6
                                         25                   25
18
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19                                       27                   27
                                         4                    4
20
                                         42                   42
21                                       3/14/2018            7
                                         Pgs.:                24
22
                                         7                    51
23                                       24                   52
                                         51
24
                                         52
25     17   Photographs of Nathanael
            Pickett, II’s Funeral
26
       18   Documents Regarding
27          Funeral & Burial Expenses
28     19   Training Records of Kyle

                                          3.
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 1   Exh.
     No.            Description               Date Identified     Date Admitted
 2          Woods
 3     20   Citizen Volunteer Program
            Policy Manual
 4     21   December 17, 2015 Audio
 5          Recordings of Kyle Woods
            Statements given to Detective
 6          Libby
 7     22   Transcript of December 17,      3/6/2018
            2015 Audio Recordings of        Pgs.:
 8
            Kyle Woods Statements given     2
 9          to Detective Libby              3
       23   El Rancho Rental Agreement
10
            and/or Lease
11     24   Detailed History Report
12     25   Portions of Video 15-4825
            02.
13     26   June 6, 2017 Kyle Woods’
14          Work Performance
            Evaluation
15     27   Photographs of Kyle Woods’      3/7/2018            3/7/2018
16          Firearm                         Pg.:                Pg.:
                                            1                   1
17
18
       28   Photographs of Kyle Woods’      3/7/2018            3/7/2018
19          hands and face after the        Pgs.:               Pgs.:
20          incident                        1                   1
                                            2                   2
21
22
       29   Still Photographs of Video      3/7/2018            3/7/2018
23          Recordings of the Incident      Pgs.:               Pgs.:
24                                          20                  20
                                            26                  26
25                                          38                  38
26                                          50                  50
                                            55                  55
27                                          58                  58
28                                          60                  60

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 1   Exh.
     No.           Description             Date Identified      Date Admitted
 2    30 (1) 9/13/14 screenshot of
 3        Pandora song liked “Animal I
          Have Become by Thee Days
 4        Grace” by Kyle Hayden
 5        Woods on Facebook.com
          (2) 9/11/14 screenshot of
 6        Pandora song liked “The
 7        Good Life by Thee Days
          Grace” by Kyle Hayden
 8        Woods on Facebook.com
 9        (3) 9/10/14 screenshot of
          Pandora song liked “Animal I
10        Have Become by Thee Days
11        Grace” by Kyle Hayden
          Woods on Facebook.com
12    31 Victor Valley News
13        (VVNG.COM) print-out of
          9/14/15 Story “CHP Officer
14
          Kicked in the Chest by
15        Combative Suspect” (3PGS)
      32 El Rancho Motel Security
16
          Camera Footage (CAM11)
17        from 11/19/2015 21:16:31
          showing hand shoving
18
          Nathaniel Picket down stairs
19    33 El Rancho Motel Security
          Camera Footage (CAM11)
20
          from 11/19/2015 21:16:31
21        showing Kyle Woods
22        approaching Nathaniel Picket
          as he crashes down cement
23        stairs
24    34 El Rancho Motel Security
          Camera Footage (CAM11)
25        from 11/19/2015 21:16:31
26        showing Kyle Woods
          approaching Nathaniel Picket
27        as Nathaniel raises his hands
28    35 10/16/14 screenshot of Kyle

                                          5.
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 1   Exh.
     No.             Description             Date Identified    Date Admitted
 2          Woods posted selfie from
 3          Facebook.com
       36   1/21/15 Daily Journal article
 4          print-out “New California
 5          Laws for 2015” AB 2634:
            Clarification of remedies
 6          under Bane Act
 7     37   1/16/18 Meta Print-out of
            preliminary audio file
 8          approximate time
 9          stamp/markers from audio
            extracted and analyzed from
10
            Defense A/V Sync Video
11     38   Use of force manual
            “Sheriff’s Department
12
            Manual” (Pages 616-621)
13     39   Witness Video Amy “Amy
            Witness.MOV” conducted by
14
            Private Investigator Cliff
15          Harris (7:55 in length)
16     40   Witness Video of James
            Kennedy conducted by
17          Private Investigator Cliff
18          Harris “James
            Kennedy.MOV” (11:19 in
19          length)
20     41   Witness Video of Rorel
            McNeese conducted by
21          Private Investigator Cliff
22          Harris “Rorel
            McNeese.MOV” (19:42 in
23          length)
24     42   El Rancho Motel Security
            Camera System export file
25          name 1~10~11~13.exe
26     43   El Rancho Motel Security
            Camera System export file
27          name 13~11~10~1.exe
28     44   El Rancho Motel Security

                                            6.
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 1   Exh.
     No.             Description               Date Identified       Date Admitted
 2          Camera System export file
 3          name 13~11~10~1~002.exe
       45   El Rancho Motel Security
 4          Camera System export file
 5          name 13~11~10~1~003.exe
       46   El Rancho Barstow LLC
 6          Rental Agreement and/or
 7          Lease for Nathaniel Pickett (1
            pg)
 8
       47   El Rancho Motel Exterior
 9          Photos taken by Aaron
            Conaway 6/12/2016
10
            (IMG_1035.JPG -
11          IMG_1055.JPG)
       48   1/15/18 Audio File
12
            EXCERPT from Defense Belt
13          recording A/V Sync video,
            GONNA SHOOT.mp3 (7
14
            seconds duration)
15    48-   Reserved for Plaintiffs
16    100

17
     Defendants’ Exhibits
18
19   Exh.
20    No           Description                     Date Identified   Date Admitted
      101 Portions of the San
21        Bernardino District
22        Attorney’s Office Report
      102 Deputy Woods’ Medical              3/8/2018
23        Records related to injuries
24        sustained during incident
      103 Riverside County Autopsy
25        Report
26    104 Decedent’s Toxicology
          Reports
27    105 POST Learning Domain #15           3/12/2018
28        “Laws of Arrest”                   Pgs.:

                                              7.
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 1   Exh.
      No            Description             Date Identified     Date Admitted
 2                                       2-4
 3                                       4-5
      106 POST Learning Domain #20
 4        “Use of Force”
 5    107 POST Learning Domain #33
          “Arrest and Control”
 6    108 POST Learning Domain #37
 7        “People with “Disabilities”
      109 San Bernardino Sheriff’s
 8
          Dept. Taser Policy
 9    110 X26 Taser Training Manual,
          Version 15
10
      111 El Rancho Motel Surveillance
11        Video
12    112 Deputy Wood’s Belt
          Recorder
13    113 Deputy Dickey’s Belt
14        Recorder
      114 Defendants’ Expert           3/7/2018               3/7/2018
15        Synchronized Audio/Video
16    115 Defendants’ Expert Video
          Comparison
17    116 Defendant’s Expert Witness   3/12/2018
18        Report “Clarence Chapman” Pgs.:
                                       2
19                                     5
20                                     7
                                       13
21
22    117 Defendant’s Expert Witness     3/12/2018
          Report “Parris Ward”           Pg. 6
23
24    118 Defendant’s Expert Report
          “Dr. Marc Cohen”
25
      119 Criminal History of Decedent
26    120 Decedent’s Arrest Report
          from the Barstow Police
27
          Department
28    121 Transcript of Deputy Woods’
                                          8.
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 1   Exh.
      No             Description              Date Identified     Date Admitted
 2          Belt Recorder prepared by the
 3          S. B. District Attorney’s
            Office
 4    122   Transcript of Deputy
 5          Dickey’s Belt Recorder
            prepared by the S. B. District
 6          Attorney’s Office
 7    123   San Bernardino County
            Sheriff’s Department Officer
 8          Involved Shootings Policy
 9    124   San Bernardino County
            Sheriff’s Department Use of
10
            Force Policy
11    125   Aerial Photographs of El
            Rancho Motel
12
      126   Photographs of Deputy          3/8/2018             3/8/2018
13          Woods Injuries                 A                    A
                                           B                    B
14
                                           C                    C
15                                         D                    D
16    127   Autopsy Report by Dr.
            Howard Oliver
17
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